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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

MARY HERIOT, individually, and on behalf of
all others similarly situated,

                      Plaintiff,                         NO.    3:20-cv-04178-MGL

       v.                                                CLASS ACTION COMPLAINT

AMERICARE INC., a Nevada corporation                           JURY DEMAND
                      Defendant.


       Plaintiff Mary Heriot (“Plaintiff Heriot” or “Heriot”) brings this Class Action Complaint

and Demand for Jury Trial against Defendant Americare Inc. (“Defendant Americare” or

“Americare”) to stop the Defendant from violating the Telephone Consumer Protection Act and

the South Carolina Telephone Privacy Protection Act by making pre-recorded telemarketing

calls, including telemarketing calls without consent to consumers who registered their phone

numbers on the National Do Not Call registry (“DNC”), and to consumers who expressly

requested to Defendant for the calls to stop yet continued to receive calls from Defendant.

Plaintiff also seeks injunctive and monetary relief for all persons injured by Defendant’s conduct.

Plaintiff Heriot, for this Complaint, alleges as follows upon personal knowledge as to herself and

her own acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by her attorneys.

                                                PARTIES

       1.      Plaintiff Mary Heriot is a resident of Mayesville, South Carolina.

       2.      Defendant Americare is a Nevada registered corporation headquartered in Las

Vegas, Nevada. Defendant Americare conducts business throughout this District, South Carolina

and throughout the U.S.

                                      JURISDICTION AND VENUE




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        3.      This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

        4.      This Court has personal jurisdiction over the Defendant because the Defendant

does business in this District and the wrongful conduct giving rise to this case was directed to

this District. Venue is proper in this District because Plaintiff is located in this District.

                                             INTRODUCTION

        5.      As the Supreme Court explained at the end of its term this year, “Americans

passionately disagree about many things. But they are largely united in their disdain for

robocalls. The Federal Government receives a staggering number of complaints about

robocalls—3.7 million complaints in 2019 alone. The States likewise field a constant barrage of

complaints. For nearly 30 years, the people’s representatives in Congress have been fighting

back.” Barr v. Am. Ass'n of Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5

(U.S. July 6, 2020).

        6.      The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

        7.      A listing on the Registry “must be honored indefinitely, or until the registration is
cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

        8.      When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

        9.      By 2003, due to more powerful autodialing technology, telemarketers were

calling 104 million Americans every day. In re Rules and Regulations Implementing the TCPA

of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

        10.     The problems Congress identified when it enacted the TCPA have only grown
exponentially in recent years.
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          11.   Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

          12.   According to online robocall tracking service “YouMail,” 3.3 billion robocalls

were placed in June 2020 alone, at a rate of 111.2 million per day. www.robocallindex.com (last

visited July 28, 2020).

          13.   The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

          14.   “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),

statement of FCC chairman.1

          15.   “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2

                                      COMMON ALLEGATIONS

          16.   Americare produces homeopathic human growth hormone (“HGH”) products that
are marketed and sold to consumers.3

          17.   As part of its business practice, Americare places solicitation calls to past

consumers in order to solicit them to purchase more of the same items those consumers

purchased in the past, or new products that Americare is selling.




1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
  https://www.facebook.com/pg/AmericareHealthNutrition/about/?ref=page_internal
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       18.     Americare has a history of telemarketing debacles. Americare and its owner

Mario Gonzalez entered into a consent judgment with the State of Iowa that Americare and its

owner are permanently restrained and enjoined from engaging in telemarketing of any health-or-

nutrition related product to Iowa residents.4

       19.     Defendant Americare currently places pre-recorded calls to consumers, despite

having never acquired the necessary consent needed to place such calls.

       20.     These calls are being placed without express written consent from consumers who

are registered on the DNC and who do not have an existing business relationship with the

Defendant.

       21.     Furthermore, the Defendant lacks a sufficient stop call system that results in the

Defendant continuing to call consumers who have previously requested that the calls stop.

       22.     For example, in Plaintiff Heriot’s case, Defendant placed multiple calls to her

number which is registered on the DNC, despite her requesting that Defendant stop calling her

on multiple calls.

       23.     In response to these calls, Plaintiff Heriot files this lawsuit seeking injunctive

relief requiring the Defendant to cease from violating the Telephone Consumer Protection Act

and the South Carolina Telephone Privacy Protection Act, as well as an award of statutory

damages to the members of the Classes and costs.


      AMERICARE PLACES UNSOLICITED SALES CALLS TO CONSUMERS,
    INCLUDING PRE-RECORDED CALLS, EVEN AFTER THE CONSUMER HAS
                   DEMANDED THAT THE CALLS STOP
       24.     Americare places solicitation calls to consumers who have ordered its products in

the past in order to generate new business.




4

https://www.iowaattorneygeneral.gov/media/cms/Americare_Consent_Judgment_7_17_14_E721
AB0E6AC0F.pdf
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          25.       Former employees have made reference to using calling technology for calling

consumers en masse.5

          26.       Consumers do not consent to receive prerecorded calls as part of their interacting

with the website or purchasing products or services from Defendant.

          27.       As explained by the Federal Communications Commission (“FCC”) in its 2012

order, the TCPA requires “prior express written consent for all autodialed or prerecorded

[solicitation] calls to wireless numbers and residential lines.” In the Matter of Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, CG No. 02-278,

FCC 12-21, 27 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).

          28.       Yet in violation of this rule, Defendant fails to obtain any express written consent

prior to placing pre-recorded solicitation calls to telephone numbers such as those of Plaintiff

Heriot.

          29.       Consumers have complained online about the incessant calls they receive from

Defendant. For example:


                   “wanted my credit card number to charge $499 per year for CBD oil which he
                    claimed I purchased already. When I refused to give info he became abusive on
                    phone. Third call from him. mostly at nite when I'm sleeping. This time at work
                    on personal phone. I clicked ‘block’, hope it works”6
                   “This guy calls and tries to harass me into purchasing supplements for my health
                    at a year's supply. When I said it was too costly he wouldn't hear if it and wanted
                    my credit card. Lately I've been getting weird comments and music on my
                    voicemail as if in retaliation. Is there no stopping this? It's Sunday night and they
                    are calling!”7
                   “He asked lots of questions about my health and claimes HGH will cure all of
                    them. Every time I hung up on him he calls back(5 or 6 times). I didn't answer the
                    last one. I think he left a voicemail but I haven't heard it. When I told him I was
                    not interested in what he was selling he asked what was wrong with me and who
                    had hurt me. I gave his phone number to NomoRobo to block the calls. He said
                    his name is Bryant and gave me the phone number I gave you. I couldn't get rid of

5
  https://www.indeed.com/cmp/Americare-Health/reviews
6
  https://www.callercenter.com/702-933-4966.html
7
  Id.
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                   him short of hanging up on him and not answering when he called back. Fedup.
                   N.C.”8
                  “Has been calling me for days, weeks. I have someone answering phone for me
                   and he was very rude to her and demanded to speak with me. Was told I was not
                   available and would not speak with him. He said he must speak with only me. He
                   said I had purchased something from them. Then said, ‘You're not the end person
                   of God’. My lady speaking for me said, ‘Maybe I have her POW’ and hung up.
                   He is extremely annoying and rude. Probably preying on older senior citizens.”9
                  “This company does not take no for an answer. You can’t buy anything without it
                   being a year supply-scam…”10
                  “I am a 70 year old woman from Oregon... I made the mistake of trying one of
                   this companies products and after 4 months of the product not working for me I
                   was willing to let it go. Lesson learned, but noo this company would not let it go.
                   I was berated and am still being harassed. I was told I did not use product right. I
                   only wanted a quick fix… I was talked down to told I had no choice but to try
                   another product and when I said no thank you have been bombarded with call
                   from to most obnoxious and disrespectful man I have ever spoken to. I said I was
                   hanging up and did. I was again called in a very threatening manner and have
                   been getting calls daily. They will not take me off their list. The man has
                   threatened me in numerous ways. I would fear for my safety if he was not calling
                   from another state. Where is the limit companies are allowed to go. Beware. One
                   more call and I will take this to the attorney general and file harassment
                   charges.”11

                              PLAINTIFF HERIOT’S ALLEGATIONS

         30.       Plaintiff Heriot registered her landline phone number on the DNC on July 1,

2003.

         31.       Plaintiff’s phone number begins with South Carolina area code 803.

         32.       Plaintiff Heriot’s phone number is not associated with a business and is used for

personal use only.

         33.       In approximately mid-2018, Plaintiff Heriot purchased an HGH product from

Americare using the website Americarenow.com.



8
  Id.
9
  Id.
10
   https://findwhocallsyou.com/7029334966?CallerInfo
11
   https://www.bbb.org/us/nv/las-vegas/profile/health-products/americare-inc-1086-
64603/customer-reviews
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          34.       At no time did Plaintiff consent to receive pre-recorded or other telemarketing

calls.

          35.       One month after purchasing a HGH product from Americarenow.com, Plaintiff

received a telemarketing call asking if she wanted to place another order.

          36.       Plaintiff told the agent that she did not feel that the product was effective and said

that she would not make another purchase from Americare.

          37.       Despite this, Plaintiff continued to receive solicitation calls from the Defendant.

          38.       In the calls that followed, Plaintiff specifically told the agents to stop calling her

on numerous occasions.

          39.       Since late-2019, Plaintiff has received a steady barrage of solicitation calls from

Defendant Americare.

          40.       Unable to get the calls stopped, Plaintiff Heriot stopped answering the calls.

          41.       At times when the calls were not answered, Plaintiff received pre-recorded voice

messages in her voicemail from Defendant stating “Hold on, we’ll dial your number” or similar

language and then the prerecorded message would end.

          42.       These pre-recorded messages did not contain an opt-out message for the

consumer to follow to opt out of future calls, or an opt-out mechanism that the consumer can use

to automatically opt-out of future calls. The pre-recorded message system also did not specify
that it was calling for solicitation purposes, leave the name, address, and telephone number of the

person making the call, or provide a phone number to make a do not call request.

          43.       Other times, the voicemail messages were blank.

          44.       Plaintiff received multiple phone calls from Defendant more than 18 months from

the time when she purchased an HGH product.

          45.       For example, Plaintiff received the following phone calls from Defendant using

phone number 702-933-4966:


                   October 13, 2020 – 9:40 PM
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                October 14, 2020 – 3:30 PM, 5:13 PM and 5:17 PM
                October 15, 2020 – 3:21 PM
                October 16, 2020 – 4:11 PM
                October 17, 2020 – 5:02 PM and 5:10 PM
                October 19, 2020 – 7:24 PM
                October 20, 2020 – 3:17 PM
                October 21, 2020 – 5:59 PM
                October 26, 2020 – 3:46 PM
       46.       The unauthorized solicitation telephone calls that Plaintiff received from

Americare, as alleged herein, have harmed Plaintiff Heriot in the form of annoyance, nuisance,

and invasion of privacy, and disturbed the use and enjoyment of her phone, in addition to the

wear and tear on the phone’s hardware (including the phone’s battery) and the consumption of

memory on the phone.

       47.       The calls also wasted Plaintiff’s time, as, among other things, Plaintiff spent time

telling agents to stop calling and listening to voicemails.

       48.       Seeking redress for these injuries, Plaintiff Heriot, on behalf of herself and

Classes of similarly situated individuals, bring suit under the TCPA and SCTPPA.

                                          CLASS ALLEGATIONS

       49.       Plaintiff Heriot brings this action pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3) and seek certification of the following Classes:


       Pre-recorded No Consent Class: All persons in the United States who from four years
       prior to the filing of this action through class certification (1) Defendant (or an agent
       acting on behalf of Defendant) called (2) using a pre-recorded voice message, and (3) for
       whom the Defendant claim (a) they obtained prior express written consent in the same
       manner as Defendant claims they supposedly obtained prior express written consent to
       call Plaintiff, or (b) they obtained the person’s number in the same manner as Defendant
       obtained Plaintiff’s number.
       Do Not Call Registry Class: All persons in the United States who from four years prior
       to the filing of this action through class certification (1) Defendant (or an agent acting on
       behalf of the Defendant) called more than one time, (2) within any 12-month period, (3)
       where the person’s telephone number had been listed on the National Do Not Call
       Registry for at least thirty days, (4) for substantially the same reason Defendant called
       Plaintiff, and (5) for whom Defendant claims (a) they obtained prior express written
       consent in the same manner as Defendant claim they supposedly obtained prior express
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       written consent to call Plaintiff, or (b) they obtained the person’s number in the same
       manner as Defendant obtained Plaintiff’s number.
       Internal Do Not Call Class: All persons in the United States who from four years prior
       to the filing of this action through class certification (1) Defendant (or an agent acting on
       behalf of Defendant) called more than one time (2) within any 12-month period (3) for
       substantially the same reason Defendant called Plaintiff.
       SCTPPA Class: All persons in South Carolina who from four years prior to the
       filing of this action through class certification, were (1) called on their South
       Carolina area code (803, 839, 843, 854, or 864) phone number; (2) by Defendant;
       (3) (a) at a phone number registered with the National Do Not Call Registry, (b)
       using a prerecorded voice message without an opt out message or opt out
       mechanism, or (c) without identifying the phone number and physical address for
       Defendant’s home office.
       50.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or its

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff Heriot anticipates the need to amend the Class definitions following

appropriate discovery.

       51.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.
       52.     Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

       (a)     whether Defendant Americare placed pre-recorded voice message calls to

               Plaintiff Heriot and members of the Pre-recorded Class without first obtaining

               consent to make the calls;
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       (b)     whether Defendant Americare systematically made multiple calls to Plaintiff and

               other consumers whose telephone numbers were registered with the DNC without

               first obtaining consent to make the calls;

       (c)     whether Defendant Americare’s calls to Plaintiff and other consumers were made

               for telemarketing purposes;

       (d)     whether the Defendant engaged in telemarketing without implementing adequate

               internal policies and procedures for maintaining an internal do not call list;

       (e)     whether Defendant’s conduct constitutes a violation of the TCPA;

       (f)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       (h)     whether the Defendant called persons in South Carolina in violation of the South

               Carolina Telephone Privacy Protection Act.




       53.     Adequate Representation: Plaintiff Heriot will fairly and adequately represent

and protect the interests of the Classes, and has retained counsel competent and experienced in

class actions. Plaintiff Heriot has no interests antagonistic to those of the Classes, and Defendant

has no defenses unique to Plaintiff. Plaintiff Heriot and her counsel are committed to vigorously
prosecuting this action on behalf of the members of the Classes, and have the financial resources

to do so. Neither Plaintiff Heriot nor her counsel have any interest adverse to the Classes.

       54.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with
respect to the Classes as wholes, not on facts or law applicable only to Plaintiff Heriot.
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Additionally, the damages suffered by individual members of the Classes will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by Defendant’s actions. Thus, it would be virtually impossible for the members of

the Classes to obtain effective relief from Defendant’s misconduct on an individual basis. A class

action provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.


                                   FIRST CLAIM FOR RELIEF
                                Telephone Consumer Protection Act
                                    (Violation of 47 U.S.C. § 227)
               (On Behalf of Plaintiff Heriot and the Pre-recorded No Consent Class)
         55.      Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

         56.      Defendant and/or its agents transmitted unwanted solicitation telephone calls to

Plaintiff Heriot and the other members of the Pre-recorded No Consent Class using a pre-

recorded voice message.

         57.      These pre-recorded voice calls were made en masse without the prior express

written consent of the Plaintiff Heriot and the other members of the Pre-recorded No Consent

Class.

         58.      Defendant has, therefore, violated 47 U.S.C. §§ 227(b)(1)(A)(iii), (b)(1)(B). As a

result of Defendant’s conduct, Plaintiff Heriot and the other members of the Pre-recorded No

Consent Class are each entitled to a minimum of $500 in damages, and up to $1,500 in damages,

for each violation.

                                SECOND CLAIM FOR RELIEF
                               Telephone Consumer Protection Act
                                   (Violation of 47 U.S.C. § 227)
                   (On Behalf of Plaintiff Heriot and the Do Not Registry Class)
         59.      Plaintiff repeats and realleges the prior paragraphs of this Complaint and
incorporates them by reference herein.
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       60.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       61.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       62.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff Heriot and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       63.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Heriot and the Do Not

Call Registry Class received more than one telephone call in a 12-month period made by or on

behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

       64.     As a result of Defendant’s conduct as alleged herein, Plaintiff Heriot and the Do
Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

       65.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.
                               THIRD CLAIM FOR RELIEF
                           Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
           (On Behalf of Plaintiff Heriot and the Internal Do Not Registry Class)
       66.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and
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incorporates them by reference herein.

       67.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:
               (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.
               (2) Training of personnel engaged in telemarketing. Personnel engaged in
               any aspect of telemarketing must be informed and trained in the existence
               and use of the do-not-call list.
               (3) Recording, disclosure of do-not-call requests. If a person or entity
               making a call for telemarketing purposes (or on whose behalf such a call is
               made) receives a request from a residential telephone subscriber not to
               receive calls from that person or entity, the person or entity must record
               the request and place the subscriber's name, if provided, and telephone
               number on the do-not-call list at the time the request is made. Persons or
               entities making calls for telemarketing purposes (or on whose behalf such
               calls are made) must honor a residential subscriber's do-not-call request
               within a reasonable time from the date such request is made. This period
               may not exceed thirty days from the date of such request. If such requests
               are recorded or maintained by a party other than the person or entity on
               whose behalf the telemarketing call is made, the person or entity on whose
               behalf the telemarketing call is made will be liable for any failures to
               honor the do-not-call request. A person or entity making a call for
               telemarketing purposes must obtain a consumer's prior express permission
               to share or forward the consumer's request not to be called to a party other
               than the person or entity on whose behalf a telemarketing call is made or
               an affiliated entity.
               (4) Identification of sellers and telemarketers. A person or entity making a
               call for telemarketing purposes must provide the called party with the
               name of the individual caller, the name of the person or entity on whose
               behalf the call is being made, and a telephone number or address at which
               the person or entity may be contacted. The telephone number provided
               may not be a 900 number or any other number for which charges exceed
               local or long distance transmission charges.
               (5) Affiliated persons or entities. In the absence of a specific request by
               the subscriber to the contrary, a residential subscriber's do-not-call request
               shall apply to the particular business entity making the call (or on whose
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               behalf a call is made), and will not apply to affiliated entities unless the
               consumer reasonably would expect them to be included given the
               identification of the caller and the product being advertised.
               (6) Maintenance of do-not-call lists. A person or entity making calls for
               telemarketing purposes must maintain a record of a consumer's request not
               to receive further telemarketing calls. A do-not-call request must be
               honored for 5 years from the time the request is made.

       68.     Defendant or their agents made marketing calls to Plaintiff Heriot and members of

the Internal Do Not Call Class without implementing internal procedures for maintaining a list of

persons who request not to be called by the entity and/or by implementing procedures that do not

meet the minimum requirements to allow Defendant to initiate telemarketing calls.
       69.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

       70.     Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff Heriot and the other members of the Internal Do Not Call Class

are each entitled to up to $1,500 per violation.


                              FOURTH CAUSE OF ACTION
                       South Carolina Telephone Privacy Protection Act
                                (Violation S.C. Code § 37-21)
                      (On Behalf of the Plaintiff and the SCTPPA Class)


       71.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

       72.     The SCTPPA defines a telephone solicitation as “the initiation of a call, or a text

or media message sent, to a natural person’s residence in the State, or to a wireless telephone
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with a South Carolina area code, for the purpose of offering or advertising a property, good, or

service.” S.C. Code § 37-21-20

       73.        Consent: In order to make a telephone solicitation to a South Carolina area code

phone number, the caller must have either (1) the consumer’s prior express invitation or

permission as evidenced by a signed or electronically signed written agreement stating that the

person agrees to be contacted by or on behalf of a specific party and including the telephone

number to which they may be placed (2) Establish Business Relationship12 (3) or a personal

relationship.13

       74.        Defendants did not have the written consent, established business relationship, or

a personal relationship with the Plaintiff or the putative SCTTPA class.14

       75.        Disclosure of certain information at the outset of and during a telephone

solicitation: Callers are required to disclose certain information at the outset of and during a

telephone solicitation including their first and last name, a telephone number and address at

which the telephone solicitors may be contacted, the purpose of the telephone solicitation, and a




12
  "Established business relationship" means a relationship between the consumer and the person
on whose behalf the telephone solicitation call is being made based on the
consumer's:(a) purchase from, or transaction with, the person on whose behalf the telephone
solicitation is being made within the eighteen months immediately preceding the solicitation
date; or(b) inquiry or application regarding a property, good, or service offered by the person on
whose behalf the telephone solicitation is being made within the three months immediately
preceding the solicitation date. S.C. Code § 37-21-20
13
   "Personal relationship" means the relationship between a telephone solicitor making a
telephone solicitation and a family member, friend, or acquaintance of that telephone solicitor.”
S.C. Code § 37-21-20
14
   Anyone that Defendants claim they have either written consent, established business
relationship, or a personal relationship would not be class members by definition.
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reasonable and good-faith estimate of the total costs to purchase, receive, or use, and the quantity

of any goods or services that are subject of the solicitation or offer.15

        76.    The agent that called Plaintiff did not provide his last name as part of his

disclosure or an address to be contacted, or any estimates of the costs of his service at the time of

the call.

        77.    Prerecorded identifications and opt-out messages: The telephone solicitor leaving

a prerecorded voice must “play a prerecorded identification and opt-out message that is limited

to disclosing that the call was for telephone solicitation purposes and states the name and

telephone number of the person on whose behalf the telephone solicitation call is being made,

and a telephone number for such person that permits the consumer to make a do-not-call request

during regular business hours” or “an automated, interactive voice and/or key press-activated




15
   Section 37-21-40 - Disclosure of certain information at the outset of and during a telephone
solicitation: (A) At the outset of a telephone solicitation, a telephone solicitor shall provide, in a
clear and conspicuous manner, a first and last name to identify himself and provide the name of
the person on whose behalf the telephone solicitation is being made and promptly disclose to the
consumer the following information:(1) a telephone number and address at which the telephone
solicitor may be contacted;(2) the purpose of the telephone solicitation;(3) that no purchase or
payment is necessary to be able to win a prize or participate in a prize promotion if a prize
promotion is offered. This disclosure must be made before or in conjunction with the description
of the prize to the consumer. If requested by that person, the telephone solicitor must disclose the
no purchase/no payment entry method for the prize promotion; and(4) the option to be added to
the telephone solicitor's in-house 'do not call' list if the consumer requests being added to such
list, confirmation that the consumer's name and telephone number will be placed on such
list.(B) At the time of solicitation or offering, the telephone solicitor shall further disclose:(1) a
reasonable and good-faith estimate of the total costs to purchase, receive, or use, and the quantity
of, any goods or services that are the subject of the solicitation or offer; and(2) if the telephone
solicitor, or the person on whose behalf the telephone solicitation is being made, has a policy of
not making refunds, cancellations, exchanges, or repurchases, a statement informing the
consumer of that policy.(C) If the consumer indicates that he does not want to hear the offer, the
telephone solicitor must immediately end the contact. S.C. Code § 37-21-40
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opt-out mechanism that enables the consumer to make a do-not-call request prior to terminating

the call.”16

        78.     Defendants’ prerecorded messages did not contain any form of opt-out message

or automated opt-out mechanism on their pre-recorded calls.

        79.    Unwanted Calls to Phone Numbers Registered on the Do Not Call Registry: A

telephone solicitor may not initiate, or cause to be initiated, a telephone solicitation to a

telephone number on the National Do Not Call registry.17




16
   Section 37-21-60 - Prerecorded identifications and opt-out messages: When a live telephone
solicitor is not available to speak with the consumer answering a telephone solicitation call
within two seconds of the completed greeting, the telephone solicitor shall: (1) play a
prerecorded identification and opt-out message that is limited to disclosing that the call was for
telephone solicitation purposes and states the name and telephone number of the person on
whose behalf the telephone solicitation call is being made, and a telephone number for such
person that permits the consumer to make a do-not-call request during regular business hours;
provided that, such telephone number may not be a 900 number or any other number for which
charges exceed local or long distance transmission charges; and (2) an automated, interactive
voice- and/or key press-activated opt-out mechanism that enables the consumer to make a do-
not-call request prior to terminating the call, including brief explanatory instructions on how to
use such mechanism. When the consumer elects to opt-out using such mechanism, the
mechanism must automatically record the consumer's number to the telephone solicitor's in-
house do-not-call list and immediately terminate the call.
17
   Unwanted telephone solicitations; Do Not Call Registry; affirmative defense. (A) A person
may not initiate, or cause to be initiated, a telephone solicitation directed to a telephone number
when a person at that telephone number previously stated a desire not to be contacted again by or
on behalf of the person on whose behalf the telephone solicitation is being made. This statement
may be made to a telephone solicitor or to the person on whose behalf the telephone solicitation
is being made if that person is different from the telephone solicitor. Any request not to receive
telephone solicitations must be honored for at least five years from the time the request is made.
(B) A telephone solicitor may not initiate, or cause to be initiated, a telephone solicitation to a
telephone number on the National Do Not Call Registry maintained by the federal government
pursuant to the Telemarketing Sales Rule, 16 C.F.R. Part 310, and 47 C.F.R. Section 64.1200.
(C) It is an affirmative defense in any action brought pursuant to Section 37-21-80 or 37-21-90
for a violation of this section that the defendant has established and implemented, with due care,
reasonable practices and procedures to effectively prevent telephone solicitation in violation of
this section, including using in accordance with applicable federal regulations a version of the
National Do Not Call Registry obtained from the administrator of the registry no more than
thirty-one days prior to the date a telephone solicitation is made. SC Code § 37-21-70 (2019)
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       80.     Defendants called telephone numbers like Plaintiff’s whose phone number is

registered on the DNC and who did not give consent to be called by Defendants.

       81.     Remedies: “A person who is aggrieved by a violation of this chapter is entitled to

initiate an action to enjoin the violation and to recover actual losses in addition to damages in the

amount of one thousand dollars for each violation.”18

       82.     If the court finds a willful violation, the court may, in its discretion, increase the

amount of the award to an amount not exceeding five thousand dollars for each violation.19

       83.     Notwithstanding another provision of law, in addition to any damages awarded,

the person initiating the action for a violation of this chapter may be awarded reasonable

attorneys' fees and court costs.20

       84.     Defendants and/or its agents made unwanted solicitation telephone calls to phone

numbers belonging to Plaintiff and the other members of the SCTPPA Class.

       85.     These solicitation calls were made en masse without the consent of the Plaintiff

and the other members of the SCTPPA Class to receive such solicitation calls.




18
   Section 37-21-80 - Remedies; injunctions: (A) A person who is aggrieved by a violation of this
chapter is entitled to initiate an action to enjoin the violation and to recover actual losses in
addition to damages in the amount of one thousand dollars for each violation.
(B) If the court finds a wilful violation, the court may, in its discretion, increase the amount of
the award to an amount not exceeding five thousand dollars for each violation.
(C) Notwithstanding another provision of law, in addition to any damages awarded, the person
initiating the action for a violation of this chapter may be awarded reasonable attorneys' fees and
court costs. (D) An action for damages, attorneys' fees, and costs brought pursuant to this section
may be filed in an appropriate circuit court or municipal or magistrates court so long as the
amount claimed does not exceed the jurisdictional limits as applicable. An action brought
pursuant to this section that includes a request for an injunction must be filed in an appropriate
circuit court.
(E) It must be a defense to any action brought under this section that the violation was not
intentional and resulted from a bona fide error.
19
   Id.
20
   Id.
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         86.     Defendants have, therefore, violated S.C. Code § 37-21-70. As a result of

Defendants’ conduct, Plaintiff and the other members of the SCTPPA Class are each entitled to a

minimum of $1,000 in damages, and up to $5,000 in damages, for each violation and attorneys’

fees.


                                           PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Heriot individually and on behalf of the Classes, prays for the

following relief:

         87.     An order certifying this case as a class action on behalf of the Classes as defined
above; appointing Plaintiff Heriot as the representative of the Classes; and appointing her

attorneys as Class Counsel;

         88.     An award of actual and/or statutory damages and costs;

         89.     An aware of attorney’s fees;

         90.     An order declaring that Defendant’s actions, as set out above, violate the TCPA;

         91.     An injunction requiring Defendant to cease all unsolicited calling activity, and to

otherwise protect the interests of the Classes; and

         92.     Such further and other relief as the Court deems just and proper.

                                                   JURY DEMAND

         Plaintiff Heriot requests a jury trial.

DATED this 2nd day of December, 2020.

                                                    By: /s/ V. Elizabeth Wright
                                                    V. Elizabeth Wright (SC Bar No. 10699)
                                                    V. Elizabeth Wright Law Firm, LLC
                                                    217 E. Park Avenue
                                                    Greenville, SC 29601
                                                    Telephone: (864) 325-5281
                                                    bethwrightattorney@gmail.com

                                                    Avi R. Kaufman*
                                                    kaufman@kaufmanpa.com
                                                    KAUFMAN P.A.
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                                400 NW 26th Street
                                Miami, FL 33127
                                Telephone: (305) 469-5881

                                Attorneys for Plaintiff and the putative Classes

                                *Pro Hac Vice motion forthcoming
